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            EXHIBIT A
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION


UNIFICATION TECHNOLOGIES LLC,          )
                                       )
         Plaintiff,                    )
                                       )
v.                                     )      C.A. No. 2:23-cv-00266-JRG-RSP
                                       )
PHISON ELECTRONICS CORPORATION, )
                                       )      Jury Trial Demanded
         Defendant.                    )
                                       )
_______________________________________)


          DEFENDANT PHISON ELECTRONICS CORPORATION’S
 RULE 12 MOTION TO DISMISS PLAINTIFF’S PRE-SUIT WILLFULNESS CLAIMS
                 AND STRIKE CERTAIN ALLEGATIONS
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I.     INTRODUCTION

       Pursuant to Fed. R. Civ. P. 12(b)(6) and 12(f), Phison Electronics Corporation (“Phison”)

moves to dismiss Plaintiff Unification Technologies LLC’s (“UTL’s” or “Plaintiff’s”) pre-suit

willfulness claims in this action, and to strike UTL’s insufficient, immaterial, and scandalous

accusations that Phison’s actions are “wanton, malicious, in bad-faith, deliberate, consciously

wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

infringement.” UTL’s Complaint lacks factual allegations showing that Phison knew of UTL’s

patents prior to UTL’s commencement of litigation, and UTL’s conclusory accusations regarding

Phison’s supposedly egregious behavior – which are unnecessary to state a claim for willfulness

and lack any underlying factual support – should be stricken from the pleading. Phison submits

this concise motion, in accordance with Local Rule CV-7(a)(1), with two issues to be decided by

the Court:

       (1) Whether Plaintiff UTL’s Complaint fails to state a plausible claim for pre-suit willful

infringement for each of U.S. Patent Nos. 9,575,902 (the “’902 Patent”), 11,061,825 (the “’825

Patent”), 11,573,909 (the “’909 Patent”), and 11,640,359 (the “’359 Patent”) (collectively, the

“Asserted Patents” or “Patents-In-Suit”); and

       (2) Whether Plaintiff UTL’s statement repeated in each of paragraphs 57, 80, 101, and 122

of the Complaint (each a willful infringement allegation) describing Phison’s actions as “wanton,

malicious, in bad-faith, deliberate, consciously wrongful, flagrant, characteristic of a pirate, and

an egregious case of misconduct beyond typical infringement” is redundant, immaterial,

impertinent, or scandalous matter within the meaning of Fed. R. Civ. P. 12(f).




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II.    FACTUAL BACKGROUND

       A.      The Complaint

       UTL filed this suit on June 2, 2023, accusing Phison of direct infringement, inducement of

infringement and willful infringement of the four Asserted Patents. Compl. ¶¶ 36, 57, 63, 80, 86,

101, 107, 122 (ECF No. 1). In its description of the parties, UTL describes itself as a Texas Limited

Liability Company with its principal place of business in Frisco, Texas. Id. ¶ 1. UTL does not

disclose its own business but describes Phison as a Taiwanese corporation and a “market leader in

NAND flash controllers and related products sold and distributed in the United States and the

World,” Id. at ¶ 2. UTL further alleges that Phison and its subsidiary conduct business activities

in the United States in places such as Texas and California. Id. ¶¶ 3, 7-13. UTL’s allegations further

note that Phison sells its controllers to “KIOXIA, Kingston and Micron,” and “major brand

customers and system integrators in the U.S., Europe and Japan.” Id. ¶ 18. UTL also notes in its

allegations Phison’s product literature describing its development partnership with Seagate. Id. ¶

66.

               1.      UTL’s allegations regarding Phison’s knowledge of the Asserted Patents

       Under a boldface, underlined and all-capital heading, “DEFENDANT’S PRE-SUIT

KNOWLEDGE OF ITS INFRINGEMENT,” UTL states that it “sent a letter to Phison prior to

filing this Complaint identifying the Asserted Patents as being infringed by exemplary Phison

products, and further includ[ing] claim charts demonstrating how the identified products infringe

the Asserted Patents.” Id. ¶ 30. In each count of its Complaint, UTL adds that Phison knew of the

Asserted Patents at a minimum, “since being served with this Complaint,” and then repeats that

“Phison also has knowledge of the [ ] Patent since receiving detailed correspondence from UTL

prior to the filing of the Complaint, alerting Phison to its infringements.” Id. ¶¶ 56, 79, 100, 121.




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                 2.    UTL’s assertion of egregious conduct by Phison

       UTL also alleges in each count that “Phison’s infringing activities relative to the [ ] Patent

have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously

wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

infringement such that UTL is entitled to enhanced damages under 35 U.S.C. § 284 up to three

times the amount found or assessed.” Id. ¶¶ 57, 80, 101, 122. UTL does not identify in its

Complaint what of Phison’s alleged conduct it considers to be egregious.

       B.        UTL’s Letter Identifying the Asserted Patents

       In a letter dated May 30, 2023, UTL, through its counsel, described the Asserted Patents in

a message addressed to Phison’s president. Chin Decl., Ex. A.1 The letter enclosed claim charts

regarding the Asserted Patents and invited Phison to discuss the portfolio.2 Id. However, the letter

was not received at Phison’s offices in Taiwan until June 2, 2023, the day UTL filed its Complaint.

Id., Exs. B-C.

III.   LEGAL STANDARD

       A.        Motions to Dismiss under Rule 12(b)(6)

       Federal Rule of Civil Procedure 8(a) requires that a pleading contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Rule

12(b)(6) permits dismissal of claims that fail to meet this standard. Fed. R. Civ. P. 12(b)(6).

Dismissal under Rule 12(b)(6) is appropriate “if the complaint fails to plead ‘enough facts to state

a claim to relief that is plausible on its face.’” Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir.



1
         “Chin Decl.” refers to the Declaration of Douglas E. Chin, filed concurrently and in support
of this motion.
2
         The enclosed claim charts were received by Phison with cut-off and blurred portions, and
despite UTL’s overture seeking discussion, no other communication was received from UTL prior
to suit.


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2011) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)). When considering the

motion, “[t]he court may consider ‘the complaint, any documents attached to the complaint, and

any documents attached to the motion to dismiss that are central to the claim and referenced by

the complaint.’” Script Sec. Solns. L.L.C. v. Amazon.com, Inc., 170 F.Supp.3d 928 (E.D. Tex.

2016) (citing Lone Star Fund V (U.S.) L.P. v. Barclays Bank PLC, 594 F.3d 383 (5th Cir. 2010)).

       B.      Willful Infringement

       A plaintiff may claim enhanced damages for infringement under 35 U.S.C. § 284, which

allows a court to increase damages up to three times the amount found or assessed. 35 U.S.C. §

284; see also Halo Elecs, Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923 (2016) (describing the enhanced

damages available under § 284 as “punitive or ‘increased’ damages [that] could be recovered ‘in

a case of willful or bad-faith infringement’” (citation omitted). To plead such willful infringement

under § 284, a plaintiff must allege that the defendant intentionally or knowingly infringed the

asserted patents. Plano Encryption Techs., LLC v. Alkami Tech., Inc., No. 2:16-cv- 1032, 2017

WL 8727249, at *2 (E.D. Tex. Sept. 22, 2017) (citing Halo, 136 S. Ct. at 1926). No more than this

is necessary at the pleading stage, because intentional or knowing infringement is all the concept

of ‘willfulness’ requires a jury to find. NXP USA Inc. v. MediaTek Inc., No. 2:21-cv-00318 (E.D.

Tex. March 15, 2022) (citing Eko Brands, LLC v. Adrian Rivera Maynez Enters., Inc., 946 F.3d

1367 (Fed. Cir. 2020)).

       The question of whether an accused infringer’s conduct rises to the level of egregious

behavior is not appropriate for jury consideration, and is addressed by the court once an affirmative

finding of willfulness has been made. Eko Brands, 946 F.3d at 1378. Thus, whether an accused

infringer’s conduct is “egregious behavior” is committed to the discretion of the district court. Id.




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       C.      Rule 12(f) Motion to Strike

       Upon motion made by a party before responding to a pleading, the court may strike from a

pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.

Fed. R. Civ. P. 12(f). Courts have used their discretion to strike material no longer having relevance

to issues before the court, Jefferson Parish Consol. Garbage Dist. No. 1 v. Waste Mgmt. of La.,

No. 09–6270 (E.D. La. Apr. 28, 2010) (striking declaratory claim for relief because conditions

under which relief was sought did not occur, and issue was moot), or that adds nothing to factual

allegations, claims or defenses already before the court, FTC v. Think All Pub. LLC, 564 F.Supp.2d

663, 665-66 (E.D. Tex. 2008) (striking affirmative defenses that were merely “restatements of

denials of certain allegations that were made elsewhere in the Defendants' Answer”). Regarding

whether the challenged matter is redundant, immaterial, impertinent or scandalous:


       “It is normally apparent on the face of the pleading whether the challenged matter
       is objectionable under Rule 12(f). ‘Redundant’ matter consists of allegations that
       constitute ‘a needless repetition of other averments in the pleading.’ 5C Charles
       Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1382 (3d ed.
       2004). ‘Immaterial’ matter is that which ‘has no essential or important
       relationship to the claim for relief or the defenses being pleaded,’ such as
       superfluous historical allegations, ‘or a statement of unnecessary particulars in
       connection with and descriptive of that which is material.’ Id. Furthermore,
       ‘impertinent’ matter consists of statements that ‘do not pertain, and are not
       necessary, to the issues in question.’ Id. Lastly, ‘scandalous’ matter is that which
       ‘improperly casts a derogatory light on someone,’ id., or ‘states anything in
       repulsive language that detracts from the dignity of the court.’ Florance v.
       Buchmeyer, 500 F. Supp. 2d 618, 645 (N.D. Tex. 2007).”

Sec. & Exch. Comm'n v. Blackburn, No. 15-2451 (E.D. La. Sept. 23, 2015).

       In the Fifth Circuit, “motion[s] to strike should be granted only when the pleading to be

stricken has no possible relation to the controversy.” Augustus v. Bd. of Pub. Instruction of

Escambia Cnty., Fla., 306 F.2d 862, 868 (5th Cir. 1962) (quoting Brown & Williamson Tobacco

Corp. v. United States, 201 F.2d 819, 822 (6th Cir. 1953)); accord United States v. Coney, 689



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F.3d 365, 379 (5th Cir. 2012). In its holding setting forth the foregoing rule, the Sixth Circuit in

Brown noted the danger of removing relevant factual allegations from a dispute, stating:


          Partly because of the practical difficulty of deciding cases without a factual record
          it is well established that the action of striking a pleading should be sparingly used
          by the courts. It is a drastic remedy to be resorted to only when required for the
          purposes of justice. The motion to strike should be granted only when the pleading
          to be stricken has no possible relation to the controversy.

201 F.2d at 822 (citations omitted). The appeals court then reversed the ruling below and instructed

the district court to reinstate the factual allegations removed from the answer, because the

allegations related to valid issues of fact and law that might be raised at trial. Id. at 823. Consistent

with this reasoning in Brown, the Fifth Circuit has reversed the striking of factual allegations that

form an alternative basis for a party’s position in a dispute, Coney, 689 F.3d at 1379 (“Here, the

disputed statements were material and pertinent to the underlying controversy because filing a

fraudulent tax return is an alternative basis for nondischargeability under 11 U.S.C. §

523(a)(1)(C)”) or that describe an injury suffered by parties to a dispute, Augustus, 306 F.2d at

868 (“[A]ppellants call attention to the averment of the complaint that, ‘the plaintiffs, and members

of their class, are injured by the policy . . . .’ The appellants argue that the district court erred in

assuming that the Negro pupils could not be injured by that policy. . . . [W]e do not think that a

matter of such importance should be decided on motion to strike.”).

IV.       ARGUMENT

          A.       Unification’s Complaint Fails to Plausibly Allege a Claim for Pre-Suit Willful
                   Infringement

          It’s simple: UTL’s own Complaint shows that Phison was made aware of the Asserted

Patents contemporaneously with this suit, and not before. Beneath a boldface, underlined and all-

capital        heading   entitled   “DEFENDANT’S           PRE-SUIT       KNOWLEDGE           OF    ITS

INFRINGEMENT,” UTL announces that its basis for alleging Phison’s pre-suit knowledge is the


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letter it sent Phison prior to filing the Complaint. Compl. ¶ 30. But, as shown above, Phison didn’t

receive the letter until June 2, the day UTL filed this suit. Chin Decl. Exs. B-C. Accepting the

allegations in UTL’s Complaint as true, UTL’s reliance on this letter establishes that Phison’s

knowledge of the Asserted Patents began on the same date as this action.

       A claim for willful infringement requires that intentional or knowing infringement be

alleged, Plano Encryption Techs., 2017 WL 8727249, at *2, and UTL’s Complaint lacks factual

allegations suggesting that Phison possessed such knowledge prior to suit. UTL alleges the

contrary, in fact, and thus UTL has pleaded its way out of a pre-suit willfulness claim.

       B.      Unification’s Complaint Contains Redundant, Immaterial, and Scandalous
               Matter Within the Meaning of Rule 12(f)

       UTL’s Complaint contains the conclusory statement that Phison’s alleged infringement for

each of the Asserted Patents is not only willful, but “wanton, malicious, in bad-faith, deliberate,

consciously wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct

beyond typical infringement” (Compl. ¶¶ 57, 80, 101, 122), an accusation that adds nothing to the

controversy, and should be stricken under Rule 12(f).

               1.      UTL’s accusation is redundant and immaterial

       UTL’s accusation is redundant and immaterial because UTL has separately invoked 35

U.S.C. § 284, alleging that Phison had (1) knowledge of the Asserted Patents and (2) committed

underlying acts of direct infringement and inducement of infringement in a (3) ‘willful’ manner,

Compl. ¶¶ 30, 36, 57, 63, 80, 86, 101, 107, 122, and the accusation raises no claim for relief or

factual allegation on its own. To the extent UTL intended its accusation to comprise its willfulness

claim, it is duplicative of the separate allegations establishing that willfulness claim 3 , and is



3
        As stated supra at section IV.A, Phison disputes whether UTL has successfully pled a claim
for pre-suit willful infringement. Though Phison does not challenge UTL's claims for post-suit


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therefore redundant. To the extent that UTL’s accusation is meant to direct the Court in its

determination regarding willful infringement, the accusation is unsupported by any facts and is

therefore immaterial. For while it alludes to behavior that might warrant enhanced damages,4 the

accusation is unsupported by any allegation in UTL’s Complaint that might distinguish the alleged

acts of infringement from typical, “garden-variety”5 infringement. And because there is no such

support for the accusation of egregious behavior, UTL’s accusation amounts to an unfounded

assertion – just the bare conclusion UTL wants the Court to make on its willfulness claim.6

               2.      UTL’s accusation is scandalous

       Though UTL’s accusation is redundant and immaterial, it does impugn Phison’s business

reputation, and is therefore scandalous. UTL’s Complaint describes Phison as a “market leader in

NAND flash controllers and related products sold and distributed in the United States and the

World,” Compl. ¶ 2. Portions of the paragraphs in UTL’s pleading further describe Phison’s and

its subsidiary’s activities in places across the United States such as Texas and California,

supporting customers and partners such as Micron, Kingston, and Seagate. Id. ¶¶ 3, 7-13, 18, 66.7



willful infringement, direct infringement, or inducement of infringement in this motion, it reserves
the right to do so in accordance with Fed. R. Civ. P. 12(h)(2).
4
        “The sort of conduct warranting enhanced damages has been variously described in our
cases as willful, wanton, malicious, bad- faith, deliberate, consciously wrongful, flagrant, or—
indeed—characteristic of a pirate.” Halo, 136 S. Ct. at 1932 (citation omitted).
5
        Halo, 136 S. Ct. at 1935 (noting the careful policy balance that would be disrupted if
enhanced damages were awarded in such cases).
6
        The Supreme Court has further stated that egregious behavior is not even a guarantee of
enhanced damages for willful infringement. Halo, 136 S. Ct. at 1933-34 (“[N]one of this is to say
that enhanced damages must follow a finding of egregious misconduct. As with any exercise of
discretion, courts should continue to take into account the particular circumstances of each case in
deciding whether to award damages, and in what amount. Section 284 permits district courts to
exercise their discretion in a manner free from the inelastic constraints of the Seagate test”).
7
        Phison reserves its right to dispute or deny portions of these paragraphs, and in no way
intends any statement in this motion as a wholesale admission of the allegations of any paragraph
in the Complaint. Phison will specify the particular allegations admitted or denied in these
paragraphs in its Answer.


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Rather than even suggesting questionable behavior, these descriptions are a nod to Phison’s

dedication over the last twenty-plus years to providing valuable and reliable products and services

to its customers. UTL’s wholly unsupported accusation about egregious behavior by Phison

adversely affects its relationships with its customers but serves no useful purpose in this suit or

anywhere else. Accordingly, this scandalous accusation should be stricken from the pleading.

               3.       UTL’s accusation has no possible relation to the controversy

       UTL’s conclusory accusation is just that and nothing more. By itself it raises no issue of

fact or law to be decided, and therefore has no possible relation to the controversy. See Brown, 201

F.2d at 823 (holding that the Brown defendants had raised such issues in the allegations that had

been removed, and thus the material should not have been stricken).

               4.       Striking UTL’s accusation will not cause prejudice

       Should UTL find some basis to allege this accusation during discovery (it will not), UTL

will have ample opportunity to assert it in a motion for summary judgment or at trial for the Court’s

review. No delay will result from striking this accusation, as UTL’s claim for willful infringement

is separate and will be unaffected, and UTL’s accusation does not relate to any question for the

jury. UTL’s accusation should not be allowed to remain in the Complaint untethered to any factual

allegation and based on future facts that may or may not exist (they do not).

V.     CONCLUSION

       For all of the foregoing reasons, Phison respectfully requests that the Court GRANT this

Motion and find that:

       (1) Plaintiff UTL’s Complaint fails to state a plausible claim for pre-suit willful

infringement for each of U.S. Patent Nos. 9,575,902, 11,061,825, 11,573,909, and 11,640,359; and

       (2) Plaintiff UTL’s statement repeated in each of paragraphs 57, 80, 101, and 122 of the

Complaint describing Phison’s actions as “wanton, malicious, in bad-faith, deliberate, consciously


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wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

infringement” is redundant, immaterial, impertinent, or scandalous matter within the meaning of

Fed. R. Civ. P. 12(f) and is stricken from the pleading.



Dated: August 23, 2023                               Respectfully submitted,


                                                 By: /s/ Douglas E. Chin
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                                                     Attorneys for Phison Electronics Corp.




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                               CERTIFICATE OF SERVICE

       I, Douglas E. Chin, counsel for Phison Electronics Corp., hereby certify that, on August
23, 2023, I served a copy of Defendant Phison Electronics Corporation’s Rule 12 Motion To
Dismiss Plaintiff’s Pre-Suit Willfulness Claims And Strike Certain Allegations and attachments on
counsel for Unification Technologies LLC by filing this document electronically through the
Electronic Case Filing (ECF) system.


                                                     /s/ Douglas E. Chin
                                                    Douglas E. Chin
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            EXHIBIT B
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  UNIFICATION TECHNOLOGIES LLC,        )
                                       )
          Plaintiff,                   )
                                       )
  v.                                   )       C.A. No. 2:23-cv-00266-JRG-RSP
                                       )       (LEAD CASE)
  PHISON ELECTRONICS                   )
  CORPORATION,                         )       JURY TRIAL DEMANDED
                                       )
  Defendant.
                                       )
  UNIFICATION TECHNOLOGIES LLC,        )
                                       )
          Plaintiff,                   )
                                       )
  v.                                   )       C.A. No. 2:23-cv-00267-JRG-RSP
                                       )       (MEMBER CASE)
  SILICON MOTION, INC.,                )
                                       )       JURY TRIAL DEMANDED
          Defendant.
                                       )
                                       )


                      DEFENDANT SILICON MOTION, INC.’S
       RULE 12 MOTION TO DISMISS PLAINTIFF’S PRE-SUIT WILLFULNESS AND
       INDIRECT INFRINGEMENT CLAIMS AND STRIKE CERTAIN ALLEGATIONS
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  I.       INTRODUCTION

           Pursuant to Fed. R. Civ. P. 12(b)(6) and 12(f), Silicon Motion, Inc.’s (“SMI”) moves to

  dismiss Plaintiff Unification Technologies LLC’s (“UTL’s” or “Plaintiff’s”) pre-suit willfulness

  and indirect infringement claims in this action, and to strike UTL’s insufficient, immaterial, and

  scandalous accusations that SMI’s actions are “wanton, malicious, in bad-faith, deliberate,

  consciously wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct

  beyond typical infringement.” UTL’s Complaint lacks factual allegations showing that SMI knew

  of UTL’s patents prior to UTL’s commencement of litigation, and UTL’s conclusory accusations

  regarding SMI’s supposedly egregious behavior – which are unnecessary to state a claim for

  willfulness and lack any underlying factual support – should be stricken from the pleading. SMI

  submits this concise motion, in accordance with Local Rule CV-7(a)(1), with two issues to be

  decided by the Court:

           (1)    Whether Plaintiff UTL’s Complaint fails to state a plausible claim for pre-suit

  willful and indirect infringement for each of U.S. Patent Nos. 9,575,902 (the “’902 Patent”),

  11,061,825 (the “’825 Patent”), 11,573,909 (the “’909 Patent”), and 11,640,359 (the “’359 Patent”)

  (collectively, the “Asserted Patents” or “Patents-In-Suit”); and

           (2)    Whether Plaintiff UTL’s statement repeated in each of paragraphs 36, 61-62, 84-

  85, 105-06, 126-27, 128 of the Complaint (each a willful infringement allegation) describing SMI’s

  actions as “wanton, malicious, in bad-faith, deliberate, consciously wrongful, flagrant,

  characteristic of a pirate, and an egregious case of misconduct beyond typical infringement” is

  redundant, immaterial, impertinent, or scandalous matter within the meaning of Fed. R. Civ. P.

  12(f).




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  II.    FACTUAL BACKGROUND

         A.      The Complaint

         UTL filed this suit on June 2, 2023, accusing SMI of direct infringement, inducement of

  infringement and willful infringement of the four Asserted Patents. Compl. ¶¶ 19, 23-25, 37-127

  (Dkt No. 1). In its description of the parties, UTL describes itself as a Texas Limited Liability

  Company with its principal place of business in Frisco, Texas. Id. ¶ 1. UTL does not disclose its

  own business but describes SMI as a Taiwanese corporation and a “leading manufacturer, designer

  and seller of semiconductors, microcontrollers, and SoC products in the United States and the

  world.” Id. at ¶ 2. UTL further alleges that SMI and its subsidiary conduct business activities in

  the United States in places such as Texas and California. Id. ¶¶ 2-3, 7-13.

                 1.      UTL’s allegations regarding SMI’s knowledge of the Asserted Patents

         Under a boldface, underlined and all-capital heading, “DEFENDANT’S PRE-SUIT

  KNOWLEDGE OF ITS INFRINGEMENT,” UTL states that it “sent a letter to SMI prior to filing

  this Complaint identifying the Asserted Patents as being infringed by exemplary SMI products,

  and further includ[ing] claim charts demonstrating how the identified products infringe the

  Asserted Patents.” Id. ¶ 35. In each count of its Complaint, UTL adds that SMI knew of the

  Asserted Patents at a minimum, “since being served with this Complaint,” and then repeats that

  “SMI also has knowledge of the [ ] Patent since receiving detailed correspondence from UTL prior

  to the filing of the Complaint, alerting SMI to its infringements.” Id. ¶¶ 61, 83, 104, 125.

                 2.      UTL’s assertion of egregious conduct by SMI

         UTL also alleges in each count that “SMI’s infringing activities relative to the [ ] Patent

  have been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously

  wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

  infringement such that UTL is entitled to enhanced damages under 35 U.S.C. § 284 up to three


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  times the amount found or assessed.” Id. ¶¶ 62, 84, 105, 126. UTL does not identify in its

  Complaint what of SMI’s alleged conduct it considers to be egregious.

         B.      UTL’s Letter Identifying the Asserted Patents

         In a letter dated May 30, 2023, UTL, through its counsel, described the Asserted Patents in

  a message addressed to SMI. The letter enclosed claim charts regarding the Asserted Patents and

  invited SMI to discuss the portfolio. However, the letter was not received at SMI’s offices in

  Taiwan until June 2, 2023, the day UTL filed its Complaint. Ex. A, FedEx Tracking Information.

  III.   LEGAL STANDARD

         A.      Motions to Dismiss under Rule 12(b)(6)

         Federal Rule of Civil Procedure 8(a) requires that a pleading contain “a short and plain

  statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Rule

  12(b)(6) permits dismissal of claims that fail to meet this standard. Fed. R. Civ. P. 12(b)(6).

  Dismissal under Rule 12(b)(6) is appropriate “if the complaint fails to plead ‘enough facts to state

  a claim to relief that is plausible on its face.’” Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011)

  (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)). When considering the motion,

  “[t]he court may consider ‘the complaint, any documents attached to the complaint, and any

  documents attached to the motion to dismiss that are central to the claim and referenced by the

  complaint.’” Script Sec. Solns. L.L.C. v. Amazon.com, Inc., 170 F.Supp.3d 928 (E.D. Tex. 2016)

  (citing Lone Star Fund V (U.S.) L.P. v. Barclays Bank PLC, 594 F.3d 383 (5th Cir. 2010)).

         B.      Willful And Indirect Infringement

         To plead willful infringement under § 284, a plaintiff must allege that the defendant

  intentionally or knowingly infringed the asserted patents. Plano Encryption Techs., LLC v. Alkami

  Tech., Inc., No. 2:16-cv-1032, 2017 WL 8727249, at *2 (E.D. Tex. Sept. 22, 2017) (citing Halo,

  136 S. Ct. at 1926). No more than this is necessary at the pleading stage, because intentional or


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  knowing infringement is all the concept of ‘willfulness’ requires a jury to find. NXP USA Inc. v.

  MediaTek Inc., No. 2:21-cv-00318 (E.D. Tex. March 15, 2022) (citing Eko Brands, LLC v. Adrian

  Rivera Maynez Enters., Inc., 946 F.3d 1367 (Fed. Cir. 2020)). The question of whether an accused

  infringer’s conduct rises to the level of egregious behavior is not appropriate for jury consideration

  and is addressed by the court once an affirmative finding of willfulness has been made. Eko

  Brands, 946 F.3d at 1378. Thus, whether an accused infringer’s conduct is “egregious behavior”

  is committed to the discretion of the district court. Id.

          To plead indirect infringement, a plaintiff must plead that an accused infringer had

  knowledge of the patents-in-suit. See Corydoras Tech., LLC v. Apple Inc., 2:16-CV-00538-JRG,

  2016 WL 9242435, at *2 (E.D. Tex. Nov. 23, 2016) (“[A] patentee cannot recover on claims of

  indirect infringement for acts occurring prior to the accused infringer having knowledge of the

  asserted patents.”) (citing Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 763-65 (2011)).

          C.      Rule 12(f) Motion to Strike

          Upon motion made by a party before responding to a pleading, the court may strike from a

  pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.

  Fed. R. Civ. P. 12(f). Courts have used their discretion to strike material no longer having relevance

  to issues before the court, Jefferson Parish Consol. Garbage Dist. No. 1 v. Waste Mgmt. of La.,

  No. 09–6270 (E.D. La. Apr. 28, 2010) (striking declaratory claim for relief because conditions

  under which relief was sought did not occur, and issue was moot), or that adds nothing to factual

  allegations, claims or defenses already before the court, FTC v. Think All Pub. LLC, 564 F.Supp.2d

  663, 665-66 (E.D. Tex. 2008) (striking affirmative defenses that were merely “restatements of

  denials of certain allegations that were made elsewhere in the Defendants’ Answer”). Regarding

  whether the challenged matter is redundant, immaterial, impertinent or scandalous:




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          “It is normally apparent on the face of the pleading whether the challenged matter
          is objectionable under Rule 12(f). ‘Redundant’ matter consists of allegations that
          constitute ‘a needless repetition of other averments in the pleading.’ 5C Charles
          Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1382 (3d ed.
          2004). ‘Immaterial’ matter is that which ‘has no essential or important relationship
          to the claim for relief or the defenses being pleaded,’ such as superfluous historical
          allegations, ‘or a statement of unnecessary particulars in connection with and
          descriptive of that which is material.’ Id. Furthermore, ‘impertinent’ matter consists
          of statements that ‘do not pertain, and are not necessary, to the issues in question.’
          Id. Lastly, ‘scandalous’ matter is that which ‘improperly casts a derogatory light on
          someone,’ Id., or ‘states anything in repulsive language that detracts from the
          dignity of the court.’ Florance v. Buchmeyer, 500 F. Supp. 2d 618, 645 (N.D. Tex.
          2007).”

  Sec. & Exch. Comm’n v. Blackburn, No. 15-2451 (E.D. La. Sept. 23, 2015).

          In the Fifth Circuit, “motion[s] to strike should be granted only when the pleading to be

  stricken has no possible relation to the controversy.” Augustus v. Bd. of Pub. Instruction of

  Escambia Cnty., Fla., 306 F.2d 862, 868 (5th Cir. 1962) (quoting Brown & Williamson Tobacco

  Corp. v. United States, 201 F.2d 819, 822 (6th Cir. 1953)); accord United States v. Coney, 689 F.3d

  365, 379 (5th Cir. 2012). In its holding setting forth the foregoing rule, the Sixth Circuit in Brown

  noted the danger of removing relevant factual allegations from a dispute, stating:

          Partly because of the practical difficulty of deciding cases without a factual record
          it is well established that the action of striking a pleading should be sparingly used
          by the courts. It is a drastic remedy to be resorted to only when required for the
          purposes of justice. The motion to strike should be granted only when the pleading
          to be stricken has no possible relation to the controversy.

  201 F.2d at 822 (citations omitted). The appeals court then reversed the ruling below and instructed

  the district court to reinstate the factual allegations removed from the answer, because the

  allegations related to valid issues of fact and law that might be raised at trial. Id. at 823. Consistent

  with this reasoning in Brown, the Fifth Circuit has reversed the striking of factual allegations that

  form an alternative basis for a party’s position in a dispute, Coney, 689 F.3d at 1379 (“Here, the

  disputed statements were material and pertinent to the underlying controversy because filing a

  fraudulent tax return is an alternative basis for nondischargeability under 11 U.S.C. §


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  523(a)(1)(C)”) or that describe an injury suffered by parties to a dispute, Augustus, 306 F.2d at 868

  (“[A]ppellants call attention to the averment of the complaint that, ‘the plaintiffs, and members of

  their class, are injured by the policy . . . .’ The appellants argue that the district court erred in

  assuming that the Negro pupils could not be injured by that policy. . . . [W]e do not think that a

  matter of such importance should be decided on motion to strike.”).

  IV.    ARGUMENT

         A.      Unification’s Complaint Fails to Plausibly Allege a Claim for Pre-Suit Willful
                 and Indirect Infringement

         UTL’s own Complaint shows that SMI was made aware of the Asserted Patents

  contemporaneously with this suit, and not before. Beneath a boldface, underlined and all-capital

  heading entitled “DEFENDANT’S PRE-SUIT KNOWLEDGE OF ITS INFRINGEMENT,” UTL

  announces that its basis for alleging SMI’s pre-suit knowledge is the letter it sent SMI prior to

  filing the Complaint. Compl. ¶¶ 35-36. But, as shown above, SMI didn’t receive the letter until

  June 2, the day UTL filed this suit. Ex. A. Accepting the allegations in UTL’s Complaint as true,

  UTL’s reliance on this letter establishes that SMI’s knowledge of the Asserted Patents began on

  the same date as this action.

         A claim for willful and/or indirect infringement requires that intentional or knowing

  infringement be alleged, Plano Encryption Techs., 2017 WL 8727249, at *2, and UTL’s Complaint

  lacks factual allegations suggesting that SMI possessed such knowledge prior to suit. UTL alleges

  the contrary, in fact, and thus UTL has pleaded its way out of a pre-suit willfulness and/or indirect

  infringement claim.

         B.      Unification’s Complaint Contains Redundant, Immaterial, and Scandalous
                 Matter Within the Meaning of Rule 12(f)

         UTL’s Complaint contains the conclusory statement that SMI’s alleged infringement for

  each of the Asserted Patents is not only willful, but “wanton, malicious, in bad-faith, deliberate,


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  consciously wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct

  beyond typical infringement” (Compl. ¶¶ 62, 84, 105, 126), an accusation that adds nothing to the

  controversy, and should be stricken under Rule 12(f).

                 1.      UTL’s accusation is redundant and immaterial

         UTL’s accusation is redundant and immaterial because UTL has separately invoked 35

  U.S.C. § 284, alleging that SMI had (1) knowledge of the Asserted Patents and (2) committed

  underlying acts of direct infringement and inducement of infringement in a (3) ‘willful’ manner,

  (Compl. ¶¶ 62-63, 84-85, 105-106, 126-27) and the accusation raises no claim for relief or factual

  allegation on its own. To the extent UTL intended its accusation to comprise its willfulness claim,

  it is duplicative of the separate allegations establishing that willfulness claim1, and is therefore

  redundant. To the extent that UTL’s accusation is meant to direct the Court in its determination

  regarding willful infringement, the accusation is unsupported by any facts and is therefore

  immaterial. For while it alludes to behavior that might warrant enhanced damages,2 the accusation

  is unsupported by any allegation in UTL’s Complaint that might distinguish the alleged acts of

  infringement from typical, “garden-variety”3 infringement. And because there is no such support




  1
   As stated supra at section IV.A, SMI disputes whether UTL has successfully pled a claim for pre-
  suit willful and indirect infringement. Though SMI does not challenge UTL’s claims for post-suit
  willful infringement, direct infringement, or inducement of infringement in this motion, it reserves
  the right to do so in accordance with Fed. R. Civ. P. 12(h)(2).
  2
   “The sort of conduct warranting enhanced damages has been variously described in our cases as
  willful, wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—
  characteristic of a pirate.” Halo, 136 S. Ct. at 1932 (citation omitted).
  3
   Halo, 136 S. Ct. at 1935 (noting the careful policy balance that would be disrupted if enhanced
  damages were awarded in such cases).


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  for the accusation of egregious behavior, UTL’s accusation amounts to an unfounded assertion –

  just the bare conclusion UTL wants the Court to make on its willfulness claim.4

                 2.      UTL’s accusation is scandalous

         Though UTL’s accusation is redundant and immaterial, it does impugn SMI’s business

  reputation, and is therefore scandalous. UTL’s Complaint describes SMI as a “leading

  manufacturer, designer and seller of semiconductors, microcontrollers, and SoC products in the

  United States and the world.” Compl. ¶ 2. Portions of the paragraphs in UTL’s pleading further

  describe SMI’s and its subsidiary’s activities in places across the United States such as Texas and

  California. Id. ¶¶ 2-3, 7-13.5 Rather than even suggesting questionable behavior, these descriptions

  are a nod to SMI’s dedication over the last twenty-plus years to providing valuable and reliable

  products and services to its customers. UTL’s wholly unsupported accusation about egregious

  behavior by SMI adversely affects its relationships with its customers but serves no useful purpose

  in this suit or anywhere else. Accordingly, this scandalous accusation should be stricken from the

  pleading.

                 3.      UTL’s accusation has no possible relation to the controversy

         UTL’s conclusory accusation is just that and nothing more. By itself it raises no issue of

  fact or law to be decided, and therefore has no possible relation to the controversy. See Brown, 201



  4
   The Supreme Court has further stated that egregious behavior is not even a guarantee of enhanced
  damages for willful infringement. Halo, 136 S. Ct. at 1933-34 (“[N]one of this is to say that
  enhanced damages must follow a finding of egregious misconduct. As with any exercise of
  discretion, courts should continue to take into account the particular circumstances of each case in
  deciding whether to award damages, and in what amount. Section 284 permits district courts to
  exercise their discretion in a manner free from the inelastic constraints of the Seagate test”).
  5
    SMI reserves its right to dispute or deny portions of these paragraphs, and in no way intends any
  statement in this motion as a wholesale admission of the allegations of any paragraph in the
  Complaint. SMI will specify the particular allegations admitted or denied in these paragraphs in
  its Answer.


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  F.2d at 823 (holding that the Brown defendants had raised such issues in the allegations that had

  been removed, and thus the material should not have been stricken).

                 4.       Striking UTL’s accusation will not cause prejudice

         Should UTL find some basis to allege this accusation during discovery (it will not), UTL

  will have ample opportunity to assert it in a motion for summary judgment or at trial for the Court’s

  review. No delay will result from striking this accusation, as UTL’s claim for willful infringement

  is separate and will be unaffected, and UTL’s accusation does not relate to any question for the

  jury. UTL’s accusation should not be allowed to remain in the Complaint untethered to any factual

  allegation and based on future facts that may or may not exist (they do not).

  V.     CONCLUSION

         For all of the foregoing reasons, SMI respectfully requests that the Court GRANT this

  Motion and find that:

         (1)     Plaintiff UTL’s Complaint fails to state a plausible claim for pre-suit willful and

  indirect infringement for each of U.S. Patent Nos. 9,575,902, 11,061,825, 11,573,909, and

  11,640,359; and

         (2)     Plaintiff UTL’s statement repeated in each of paragraphs 62, 84, 105, 126 of the

  Complaint describing SMI’s actions as “wanton, malicious, in bad-faith, deliberate, consciously

  wrongful, flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

  infringement” is redundant, immaterial, impertinent, or scandalous matter within the meaning of

  Fed. R. Civ. P. 12(f) and is stricken from the pleading.


   Dated: August 24, 2023                               Respectfully submitted,

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                                                        State Bar No. 24081129
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                                             SILICON MOTION, INC.




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                                  CERTIFICATE OF SERVICE
         The undersigned hereby certifies that on August 24, 2023, a true and correct copy of the

  attached document was electronically filed with the Clerk of Court using the CM/ECF system,

  which sends notifications of such filing to all counsel of record who have consented to accept

  service by electronic means.

                                                              /s/ Michael R. Rueckheim
                                                                  Michael R. Rueckheim
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  Unification Technologies LLC,

         Plaintiff,                         Civil Action No. 2:23-cv-00266-JRG-RSP

  v.                                             JURY TRIAL DEMANDED

  Phison Electronics Corporation,                         Lead Case

         Defendant.


  Unification Technologies LLC,

         Plaintiff,                         Civil Action No. 2:23-cv-00267-JRG-RSP

  v.                                             JURY TRIAL DEMANDED

  Silicon Motion Inc.,

         Defendant.



   PLAINTIFF UNIFICATION TECHNOLOGIES LLC’S RESPONSE IN OPPOSITION
     TO DEFENDANT SILICON MOTION, INC.’S RULE 12 MOTION TO DISMISS
  PLAINTIFF’S PRE-SUIT WILLFULNESS AND INDIRECT INFRINGEMENT CLAIMS
                    AND STRIKE CERTAIN ALLEGATIONS
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       I.   Introduction

            Plaintiff Unification Technologies LLC (“UTL”) provided Defendant Silicon Motion Inc.

  (“SMI” or “Defendant”) with notice of SMI’s infringement before it filed this case. Based in part

  on this pre-suit knowledge, UTL asserted willfulness and indirect infringement claims, and

  alleged that SMI’s conduct is in accord with the Supreme Court’s description of conduct

  justifying enhanced damages under 35 U.S.C § 284. Through its Motion, 1 SMI asks the Court to

  dismiss UTL’s pre-suit willfulness and indirect infringement claims under Rule 12(b)(6) and

  strike language quoted from the Supreme Court under Rule 12(f). SMI asserts incorrectly that it

  received notice of UTL’s patents the same day suit was filed (though it does not argue the notice

  was after suit was filed) and contends that the enhanced damages language is redundant,

  immaterial, and scandalous.

            As explained more fully below, neither of SMI’s arguments meet the high bar for

  dismissal under Rule 12(b)(6) or striking under Rule 12(f). SMI’s Motion should be denied

  because: (a) SMI received notice sufficient to support willfulness and indirect infringement

  claims before suit was filed; and (b) the disputed language in UTL’s Complaint 2 properly

  apprised SMI of UTL’s claim for enhanced damages.

      II.   Relation to Phison’s Motion

            The Court consolidated UTL’s case against SMI with the Lead Case involving Phison

  Electronics Corporation (“Phison”) for all pretrial issues and purposes. See Dkt. 16. On August

  23, 2023, Phison filed a Rule 12 Motion to Dismiss Plaintiff’s Pre-Suit Willfulness Claims and

  Strike Certain Allegations. See Dkt. 17. The following day SMI filed the instant Motion copying


  1
    “Motion” refers to SMI’s Rule 12 Motion to Dismiss Plaintiff’s Pre-Suit Willfulness Claims
  and Strike Certain Allegations filed at Dkt. 18.
  2
    “Complaint” refers to Plaintiff’s Complaint for Patent Infringement filed at Dkt. 1 in Civil
  Action No. 2:23-cv-00267-JRG-RSP.


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  Phison’s motion nearly verbatim, including Phison’s citation to case law without reporter or

  pinpoint pages (see, e.g., Motion at 4 (NXP) and 5 (Blackburn)). 3 SMI, however, extended

  Phison’s argument regarding the date of notice of the Asserted Patents to UTL’s indirect

  infringement claims (see, e.g., Motion at 1, 4, 6). To address this additional argument and clearly

  delineate between the similar but separate facts for each Defendant, UTL files this separate

  response, but apprises the Court that the substantive arguments are essentially the same and that

  UTL has endeavored to present them in essentially the same order to avoid duplication of effort.

  III.   Relevant Factual Background

         On May 30, 2023, UTL sent correspondence to SMI “identifying the Asserted Patents as

  being infringed by exemplary SMI products, and further included claim charts demonstrating

  how the identified products infringe the Asserted Patents.” Complaint at ¶ 35. The FedEx

  tracking information SMI submitted with its Motion confirms that the package with the letter

  was picked up May 30, 2023. See Dkt. 18, Ex. A at 1.

         Nevertheless, SMI asserts that “the letter was not received at SMI’s offices in Taiwan

  until June 2, 2023, the day that UTL filed its Complaint.” Motion at 3. This is misleading. SMI’s

  assertion ignores the fact that Taiwan and Texas (where the Complaint was filed and the letter

  was sent from) reside in different time zones separated by the International Date Line. The

  FedEx tracking information SMI submitted as Exhibit A to the Motion tracks each event in its

  local time. This tracking information indicates that the package was received by FedEx in

  Garland, TX on May 30, 2023, at 2:29PM in Texas and delivered in Chu Nan Tsen, Taiwan on



  3
   Also, although SMI did translate the paragraph numbers from the Phison Complaint to its own
  Complaint in the second numbered paragraph on page 1 of the Motion (referring to the
  “statement repeated in each of paragraphs 36, 61-62, 84-85, 105-06, 126-27, 128 of the
  Complaint”), the disputed statement in fact only appears in paragraphs 62, 84, 105, and 126. See
  Complaint at ¶¶ 62, 84, 105, and 126.


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  June 2, 2023, at 11:04AM in Taiwan. See Dkt. 18, Ex. A. SMI uses these dates to claim that it

  received notice on the same day UTL filed suit. This is incorrect.

           When the FedEx tracking data is set to use the “Origin” time zone (Central) for all

  events, it is clear that SMI received notice prior to suit being filed. Ex. 1, FedEx tracking. SMI

  received the notice letter on June 1, 2023 at 10:04 PM Central. Id. Thereafter, on June 2, 2023, at

  1:36PM Central, UTL sent an electronic copy of this correspondence to SMI’s email listed at

  https://www.siliconmotion.com/legal as well as an email for a senior manager in SMI’s legal

  department. Ex. 2. 4 UTL then filed the Complaint on June 2, 2023, at 3:16 PM Central. Ex. 3,

  ECF notice for Complaint. The time of this filing in Taiwan was June 3, 2023, at 4:16AM.

  IV.      Legal Standards

               A. Motion to Dismiss Under Rule 12(b)(6)

           The Federal Rules of Civil Procedure require that a complaint include “a short and plain

  statement of the claim showing that the pleader is entitled to relief.” FED. R. CIV. P. 8(a)(2). Rule

  12(b)(6) authorizes a court to dismiss a complaint that fails to meet this standard. FED. R. CIV. P.

  12(b)(6). To survive dismissal at the pleading stage, a complaint must state “enough facts such

  that the claim to relief is plausible on its face.” Thompson v. City of Waco, 764 F.3d 500, 502

  (5th Cir. 2014) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The Court must

  accept well-pleaded facts as true and view all facts in the light most favorable to the plaintiff. Id.

  “The court may consider ‘the complaint, any documents attached to the complaint, and any

  documents attached to the motion to dismiss that are central to the claim and referenced by the

  complaint.’” Script Sec. Sols. L.L.C. v. Amazon.com, Inc., 170 F. Supp. 3d 928, 935 (E.D. Tex.

  2016) (quoting Lone Star Fund V (U.S.) L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir.



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      SMI’s Motion does not address this additional notice.


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  2010)). In the Fifth Circuit, motions to dismiss under Rule 12(b)(6) “are viewed with disfavor

  and are rarely granted.” Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009)

  (quoting Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 570 (5th Cir. 2005)).

             B. Willful Infringement

         “A claim for willful infringement must allege that infringement was ‘intentional or

  knowing.’” Plano Encryption Techs., LLC v. Alkami Tech., Inc., Civil Action No. 2:16-cv-1032-

  JRG, 2017 U.S. Dist. LEXIS 221765, at *5 (E.D. Tex. Sep. 22, 2017) (quoting Halo Elecs., Inc.

  v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1926 (2016)). “A plaintiff’s plausible allegations

  concerning knowledge of the patents-in-suit may be sufficient and this court has so held in prior

  cases.” Id. (citations omitted). Defendant does not cite, and UTL is unaware of, any case setting

  forth a duration requirement for pre-suit knowledge to support a claim for willful infringement.

  Indeed, courts have held that claims for willful infringement may be appropriate even where suit

  was brought on the day the patent issued. See, e.g., Malibu Boats, LLC v. MasterCraft Boat Co.,

  LLC, No. 3:16-CV-82-TAV-HBG, 2016 U.S. Dist. LEXIS 183202, at *15 (E.D. Tenn. Oct. 28,

  2016). Moreover, “post-complaint knowledge has been found to be sufficient under Halo to

  assert a claim of willfulness.” Plano Encryption Techs., 2017 U.S. Dist. LEXIS 221765, at *5

  (citation omitted); see also Merrill Mfg. Co. v. Simmons Mfg. Co., 553 F. Supp. 3d 1297, 1306

  (N.D. Ga. 2021) (noting that “most courts” hold that post-filing conduct may support a claim for

  willful infringement).

             C. Indirect Infringement

         To plead indirect infringement, a plaintiff must plead that an accused infringer had

  knowledge of the patents-in-suit. See Corydoras Tech., LLC v. Apple Inc., 2:16-CV-00538-JRG,

  2016 U.S. Dist. LEXIS 194959, at *2 (E.D. Tex. Nov. 23, 2016) (“[A] patentee cannot recover

  on claims of indirect infringement for acts occurring prior to the accused infringer having


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  knowledge of the asserted patents.”) (citing Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S.

  754, 763-65 (2011)). Defendant has cited no case law, and UTL has found none, requiring a pre-

  suit claim for indirect infringement to plead knowledge within any particular timeframe other

  than prior to filing suit.

               D. Motion to Strike Under Rule 12(f)

            Rule 12(f) provides that “[t]he court may strike from a pleading an insufficient defense or

  any redundant, immaterial, impertinent, or scandalous matter.” FED. R. CIV. P. 12(f). The action

  of striking a pleading “is a drastic remedy to be resorted to only when required for the purposes

  of justice.” Brown & Williamson Tobacco Corp. v. United States, 201 F.2d 819, 822 (6th Cir.

  1953) (citations omitted). For this reason, a motion to strike should be granted “only when the

  pleading to be stricken has no possible relation to the controversy.” Id. In addition, “[a] disputed

  question of fact cannot be decided on motion to strike.” Augustus v. Bd. of Pub. Instruction, 306

  F.2d 862, 868 (5th Cir. 1962). And, “courts generally are not willing to determine disputed and

  substantial questions of law upon a motion to strike” “when there is no showing of prejudicial

  harm to the moving party.” Id.

            Defendant includes a block quote from an E.D. Louisiana case articulating (based on

  Wright & Miller) what may constitute “redundant, immaterial, impertinent, or scandalous

  matter” under Rule 12(f). See Motion at 5 (quoting, without reporter or pinpoint cite, SEC v.

  Blackburn, No. 15-2451, 2015 U.S. Dist. LEXIS 127562, at *6-7 (E.D. La. Sep. 23, 2015)).

  Defendant’s block quote omits the last sentence of the Louisiana court’s paragraph noting that:

  “Any doubt about whether the challenged material is redundant, immaterial, impertinent, or

  scandalous should be resolved in favor of the non-moving party.” Blackburn, 2015 U.S. Dist.

  LEXIS 127562, at *7 (citing 5C FED. PRAC. & PROC. (“Wright and Miller”) § 1382 (3d ed. Supp.

  2015)).


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   V.    Argument

             A. UTL Properly Plead Pre-Suit Willfulness and Indirect Infringement.

         UTL sent SMI multiple notices prior to filing suit. See supra Section III. These notices

  identified the Asserted Patents as being infringed by exemplary SMI products and included claim

  charts demonstrating how the identified products infringe the Asserted Patents. Id. UTL pleaded

  the same. See Complaint at ¶ 35; see also ¶¶ 62, 84, 105, 126 (pleading willfulness for

  continuing infringing conduct despite knowledge of each patent) and ¶¶ 61, 83, 104, 125

  (pleading knowledge as part of indirect infringement claims). Nothing more is required at this

  stage to maintain UTL’s willfulness or indirect infringement claims.

         SMI does not dispute that UTL sent a letter, that the letter identified the Asserted Patents

  as being infringed, or that the letter included claim charts for the Asserted Patents. See Motion at

  3. Instead, SMI argues that “UTL’s Complaint lacks factual allegations showing that SMI knew

  of UTL’s patents prior to UTL’s commencement of litigation.” Motion at 1. But that is not true.

  UTL’s Complaint includes the requisite allegations. See Complaint at ¶ 35. SMI also asserts that

  “the letter [from UTL] was not received at SMI offices in Taiwan until June 2, 2023, the day

  UTL filed its Complaint.” Motion at 3. But, that is not true either. As explained above, SMI

  received the letter the day before UTL filed its Complaint. See supra Section III.

         SMI’s Motion does not argue that it received notice after suit was filed. Instead, SMI

  argues that “SMI was made aware of the Asserted Patents contemporaneously with this suit, and

  not before,” and “SMI’s knowledge of the Asserted Patents began on the same date as this

  action.” Motion at 6. Given that SMI received the notice letter before UTL filed suit, SMI’s

  allegations amount to, at most, factual disputes that must be resolved in UTL’s favor. See

  Thompson, 764 F.3d at 502.




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         The timing of SMI’s awareness of the Asserted Patents is particularly inappropriate for

  resolution on a motion to dismiss. The facts are what they are, and they and will be developed

  through discovery. 5 SMI’s infringement (direct and indirect), its willfulness, and the precise

  timing of its infringement and willfulness should be addressed in the normal course of this case.

  SMI’s request to dismiss pre-suit willfulness and indirect infringement at the pleadings stage is

  inappropriate on these facts. For at least these reasons, SMI motion to dismiss UTL’s pre-suit

  willfulness and indirect infringement claims under Rule 12(b)(6) should be denied.

             B. UTL’s Pleading of the Supreme Court’s Description of Conduct Warranting
                Enhanced Damages Should Not Be Stricken.

         UTL’s Complaint includes one paragraph for each Asserted Patent providing SMI with

  notice that UTL contends enhanced damages under Section 284 are warranted in this case. See

  Complaint at ¶¶ 62, 84, 105, and 126. Each such paragraph provides:

         On information and belief, despite having knowledge of the [asserted] Patent and
         knowledge that it is directly and/or indirectly infringing one or more claims of the
         [asserted] Patent, SMI has nevertheless continued its infringing conduct and
         disregarded an objectively high likelihood of infringement. SMI’s infringing
         activities relative to the [asserted] Patent have been, and continue to be, willful,
         wanton, malicious, in bad-faith, deliberate, consciously wrongful, flagrant,
         characteristic of a pirate, and an egregious case of misconduct beyond typical
         infringement such that UTL is entitled to enhanced damages under 35 U.S.C. §
         284 up to three times the amount found or assessed.

  Id. SMI asks the Court to strike the portion asserting that SMI’s infringing activities have been

  “wanton, malicious, in bad-faith, deliberate, consciously wrongful, flagrant, characteristic of a

  pirate, and an egregious case of misconduct beyond typical infringement.” Motion at 1, 6-7.




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   For example, UTL believes that SMI received notice of the Asserted Patents in connection with
  discovery requests in Unification Technologies LLC v. Micron Tech., Inc., 6:20-cv-500 (W.D.
  Tex. 2020) that caused or should have caused it to investigate the Asserted Patents. See Dkt. 97,
  Unification Technologies LLC v. Micron Tech., Inc (W.D. Tex.) (Case No. 6:20-cv-500).


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         SMI acknowledges that the disputed language “alludes to behavior that might warrant

  enhanced damages” from the Supreme Court’s decision in Halo. Motion at 7 n.2. In fact, UTL’s

  pleadings do not allude to, but quote, the Supreme Court’s description of “[t]he sort of conduct

  warranting enhanced damages.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 103 (2016).

  UTL properly plead this language from the Supreme Court to put SMI on notice of its

  contentions regarding enhanced damages in this case. SMI fails to show that this language

  should be stricken.

         UTL’s pleading the Supreme Court’s description of conduct warranting enhanced

  damages is not redundant or immaterial. SMI acknowledges that “‘[r]edundant’ matter consists

  of allegations that constitute ‘a needless repetition of other averments in the pleading’” and

  “‘[i]mmaterial’ matter is that which ‘has no essential or important relationship to the claim for

  relief or the defenses being pleaded.’” Motion at 5 (quoting Blackburn, 2015 U.S. Dist. LEXIS

  127562, at *6). The disputed language is not redundant to invoking Section 284 as it includes the

  Supreme Court’s explication of the conduct justifying enhanced damages under that section. See

  Halo, 579 U.S. at 103-04. The language is also distinct from merely invoking willfulness. Nor is

  the language immaterial as pleading a request for enhanced damages bears a direct and important

  relationship to UTL’s claims—i.e., that it contends enhanced damages are warranted.

         SMI does not argue the disputed language is impertinent, nor does SMI meet the standard

  for striking “scandalous” material that it articulates. See Motion at 5 (quoting Blackburn, 2015

  U.S. Dist. LEXIS 127562, at *6) and Motion at 8-9. Reciting the Supreme Court’s standard for

  enhanced damages can neither “improperly cast[] a derogatory light on someone” nor “state[]

  anything in repulsive language that detracts from the dignity of the court.” See Blackburn, 2015

  U.S. Dist. LEXIS 127562, at *6-7 (emphasis added). That this pleading offends SMI’s




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  sensibilities is likewise not justification for striking it as “scandalous” under Rule 12(f). See

  United States v. Coney, 689 F.3d 365, 380 (5th Cir. 2012) (citing In re Gitto Global Corp., 422

  F.3d 1, 12 (1st Cir. 2005) (holding that a pleading is not “scandalous” under Rule 12(f) merely

  because “the matter offends the sensibilities of the objecting party if the challenged allegations

  describe acts or events that are relevant to the action[;] [a]s a result, courts have permitted

  allegations to remain in the pleadings when they supported and were relevant to a claim for

  punitive damages”)).

         SMI has not shown that the disputed language meets any of the standards for being

  stricken under Rule 12(f). Moreover, a “motion to strike should be granted only when the

  pleading to be stri[c]ken has no possible relation to the controversy.” Brown & Williamson, 201

  F.2d 819, 822 (emphasis added). UTL properly puts SMI on notice that it contends enhanced

  damages are warranted in this case in accordance with the Supreme Court’s description of the

  type of conduct that would justify such enhanced damages. SMI is not prejudiced by receiving

  such notice. Cf. Godo Kaisha IP Bridge 1 v. Telefonaktiebolaget LM Ericsson, No. 2:21-CV-

  00213-JRG, 2022 U.S. Dist. LEXIS 101114, at *14 (E.D. Tex. June 6, 2022) (“the Court finds

  that IP Bridge is not prejudiced by receiving notice of Nokia’s contentions that Defendants have

  not willfully infringed, that IP Bridge’s damages are limited by statute, or that FRAND rates may

  apply to the Asserted Patents.”). If SMI disagrees with the characterizations of its infringing

  conduct, the appropriate course would seem to be denying these allegations in its Answer and

  endeavoring to prove its case rather than striking the disputed language from UTL’s Complaint.

  VI.    Conclusion
         For the foregoing reasons, UTL respectfully requests that the Court deny Silicon Motion,

  Inc.’s Rule 12 Motion to Dismiss Plaintiff’s Pre-Suit Willfulness and Indirect Infringement




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  Claims and Strike Certain Allegations and grant any further relief the Court deems just and

  appropriate.



  Dated: September 6, 2023                                   Respectfully submitted,
                                                             /s/ David T. DeZern
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                                                             State Bar No. 00797142
                                                             Robert A. Delafield II
                                                             State Bar No. 24065137
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                                                             david@nelbum.com

                                                             Attorneys for Plaintiff
                                                             Unification Technologies LLC




                                  CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service are

  being served with a copy of this document via the Court’s CM/ECF system on September 6, 2023.


                                                      /s/ David T. DeZern


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Subject:       Notice of Copyright Infringement
Date:          Wednesday, November 29, 2023 at 11:00:28 PM Eastern Standard
               Time
From:          Hsuanyeh Chang
To:            Chang, Ya-Chiao
CC:            Rueckheim, Mike
Priority:      High
Attachments: TX 9-306-333.pdf
Dear Ya-Chiao,

I write with great regret that despite my repeated attempts (at least four times) to engage in
discussions regarding a potential amicable resolution for the copyright infringement matter, you
have chosen not to respond. Following our disconnection on WeChat, I am reaching out once
more to explore the possibility of resolving this issue outside of the judiciary.

Enclosed, please find a copy of the copyright registration (Reg. No. TX 9-306-333) for the legal
brief (ECF 17) that was prepared and filed in the case of UTL v. Phison, 2:23-cv-266-JRG-RSP
(EDTX). This document was previously transmitted to you via WeChat on September 13, 2023.

As you are aware, on August 23, 2023, shortly after the filing of our brief ECF 17, you, in your
capacity as the co-defendant’s counsel, contacted me through WeChat and shared a
screenshot of the first page of our brief ECF 17. Subsequently, on August 24, 2023, your firm
submitted your brief (ECF 18), signed by Attorney Rueckheim, copied herewith, in the same
consolidated case. Notably, your brief ECF 18 bears striking resemblance to our brief ECF 17, a
fact substantiated in UTL’s responsive brief (ECF 23). We have never granted any license for
you to copy our brief ECF 17.

As an experienced intellectual property attorney, you are undoubtedly aware that replicating
another attorney’s legal brief does not constitute fair use. See, for example, Newegg Inc. v. Ezra
Sutton, P.A., 120 USPQ2d 1111 (C.D. Cal. 2016). Pursuant to the Copyright Act, a copyright
infringer may be held liable for either (1) the copyright owner’s actual damages and any
additional profits of the infringer, as provided by 17 USC 504(b), or (2) statutory damages, as
provided by 17 USC 504(c). Please be advised that 17 USC 504(c)(2) empowers a court of
competent jurisdiction to levy statutory damages of up to $150,000 if the infringement is deemed
willful.

I urge you to consider the above and invite you to arrange a meeting with me at your earliest
convenience. I hope to receive your response by Friday, December 1, 2023. Thank you for your
attention to this matter.

Yours truly,

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                                                                                           BRANT C. WEIDNER
                                                                                            Assistant GeneralCounsel
                                                                                                       312/558-8328
                                                                                             BWeidner@winston.com
                                             December 15, 2023
Hsuanyeh Chang, PhD
Hsuanyeh Law Group PC
11 Beacon Street, Suite 900
Boston, MA 02108

Re: Your November 30, 2023 Email To Ya-Chiao Chang

Dear Dr. Chang:

I write on behalf of Winston & Strawn LLP ("Winston") in response to your November 30, 2023 email to
Ya-Chiao Chang entitled ''Notice of Copyright Infringement." Thank you very much for your
consideration in allowing us some time to review this matter before we responded to you. Once you have
had a chance to review this letter and consider it, I am happy to have a discussion with you.

By way of brief factual background, I understand that, on August 23, 2023, your firm filed a motion to
dismiss ("Motion") in an action captioned as Unification Technologies LLC v. Phison Electronics
Corporation, et al., Eastern District of Texas Case No. 2:23-cv-00266. I further understand that Winston
filed its own motion to dismiss the next day, and that you claim that Winston's motion copied your
Motion. A week after your firm filed the Motion, it obtained a copyright registration for the pleading, and
you now threaten to sue Winston for copyright infringement.

My investigation so far has revealed that your threatened claim suffers from numerous substantive
infirmities. In this response, however, I have focused on your assertion that you could obtain up to
$150,000 in statutory damages from Winston.

Because you did not obtain the copyright registration until after Winston's alleged copying, you can
recover statutory damages only if the Motion was "published" before the registration. 17 U.S.C. § 412.
Any suggestion that the act of filing the Motion constitutes publication is incorrect.

Under the Copyright Act, "publication" means "the distribution of copies ... of a work to the public by
sale or other transfer of ownership, or by rental, lease, or lending." 17 U.S.C. 101. But, the act of filing a
motion does not offer a work to the public for sale, rental, lease or any other kind of ownership. While it
is true that the public can access documents filed in a federal court via the Pacer system, that is not
enough to make the filing a publication, because "posting a digital file on the Internet lacks the element
of commercial exploitation" that defines publication. See, e.g., Feingold v. RageOn, Inc., 472 F. Supp. 3d
94, 100 (S.D.N.Y. 2020).
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Because making the document available on Pacer did not allow you to reap any commercial advantage
from the Motion, it was at best a "public display" of the Motion, not a publication. See 17 U.S.C. § 101
("A public performance or display of a work does not of itself constitute publication"). Accordingly,
since the Motion was not published prior to registration, statutory damages are unavailable.

Even if, for the sake of argument, statutory damages were available, you could never recover anywhere
near the statutory maximum of $150,000 that you suggest in your email. First, statutory damages are
limited to $30,000 for non-willful infringement. 17 U.S.C. § 504(c). Willful infringement requires that a
plaintiff show "(1) that the defendant was actually aware of the infringing activity, or (2) that the
defendant's actions were the result of 'reckless disregard' for, or 'willful blindness' to, the copyright
holder's rights." Berg v. Symons, 393 F. Supp. 2d 525, 539 (S.D. Tex. 2005).

You will not be able to show willfulness in this matter. Indeed, no case has ever held that a law firm's
copying of a co-defendant's motion constitutes infringement. Your reference to Newegg Inc. v. Ezra
Sutton, P.A, 2016 WL 6747629, at *1 (C.D. Cal. Sept. 13, 2016) is inapposite because that case never
reached the question of whether copyright law protects a publicly filed document or whether that right
can be infringed by a co-defendant's counsel filing a similar motion in the same case. And, where
copyright law is unsettled, as here, courts have declined to conclude that infringement is willful. 1

As a result, should you proceed with the threatened copyright infringement case, statutory damages could
be as little as $200 because the alleged "infringer was not aware and had no reason to believe that his or
her acts constituted an infringement of copyright." 17 U.S.C. § 504( c)(2).

Every other factor informing the statutory damages analysis mandates only a minimal award, if any. For
example, courts look to "the profits the defendant earned, the revenues the plaintiff lost, whether the
defendant has cooperated in providing necessary information, and the potential for discouraging future
copyright infringement by the defendant and others." Tempest Pub., Inc. v, Hacienda Records &
Recording Studio, Inc., 2015 WL 1246644, at *11 (S.D. Tex. 2015) (citing Fitzgerald Pub. Co. v. Baylor
Pub. Co., 807 F.2d 1110, 1117 (2d Cir.1986)). Here, you lost no profits from the alleged copying and
Winston gained none. Moreover, since your client has already been dismissed from the suit, and given
that this sort of copyright claim is rarely prosecuted, the potential for discouraging future copyright
infringement by the alleged infringer is minimal.




1
  See, e.g., Princeton University Press v. Michigan Document Services, Inc., 99 F.3d 1381, 1392 (6th Cir. 1996) (holding copy
shop's infringement of copyrighted excerpts in course packs not willful in view of fair use being "one of the most unsettled
areas oflaw"); Hearst Corp. v. Stark, 639 F. Supp. 970, 979-80 (N.D. Cal. 1986) (holding importers' infringement of U.S.
copyrights not willful where, in a case of"first impression," the applicability of a statute prohibiting importation of
copyrighted materials had not previously been determined); and Florentine Art Studio, Inc. v. Vedet K Corp., 891 F. Supp.
532, 539 (C.D. Cal. 1995) (finding no willful infringement of copyrighted plaster statute, in part because innocent
infringement was pervasive in the field, and infringer made a good faith effort to settle the matter as soon as infringement was
brought to its attention).
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Respectfully, we do not believe that a court will welcome your request to use the copyright law to
interfere with a lawyer's representation of its client, especially where the lawyer could have
accomplished the same litigation strategy by joining the Motion. The difference between allegedly
copying a motion and joining it is one of form over substance, which will only further reduce any
possibility of statutory damages.

In summary, even if one were to assume that there was copyright infringement in this matter, the
monetary value of any such claim is de minimis at best. Nonetheless, and as you requested, I encourage
yo • to contact me to discuss at your earliest convenience.




Br t C. Weidner

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IN THE MEDIA



The American Lawyer Highlights the Firm’s 2022 Growth and
Revenue




APRIL 13, 2023

Winston & Strawn Chairman Tom Fitzgerald recently spoke with The American Lawyer, where he discussed the
firm’s 2022 revenue, hires and departures, litigation work in the last year, and what Winston is watching for in 2023.

In the interview, Tom told The American Lawyer that Winston grossed $1.146 billion while increasing profits per
partner by 4% to about $3.143 million. “We recognized the opportunities that we had, but we did not invest too much.
We basically met demand, and it turned out to be a lucky event for us, and a strategic opportunity for us to come out
of last year having matched revenue and talent, and we’re proud of that,” Tom said.

While economic uncertainty has slowed transactions, Tom noted that litigation work was “off the charts,” especially
given the firm’s representation of Boeing, Monsanto, and Abbott Laboratories. He stated that economic uncertainty,
including whether the banking industry evens out after failures early this year, remains top of mind for Winston and
corporate transactions in 2023.

“I think that once all those issues coalesce and we get that under control, and we get predictability, you will see the
pace of corporate transactions pick up,” he said. “Because there are corporations that are ready to be sold, if you
find good companies that can be financed well and be submitted to the equity tranche in a way that makes sense,
you can do deals. So, we just need to have the market calm down.”

Read the full article.

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